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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :       17-CR-662-01 (PAE)
                                                                       :
SIRA ABASSI,                                                           :      SCHEDULING ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

PAUL A. ENGELMAYER, District Judge:

        The Court previously scheduled a telephonic conference in this case for October 27,

2020. That conference is hereby rescheduled for November 12, 2020 at 10:30 a.m. The parties

are to consult the Court’s Emergency Individual Rules and Practices in Light of COVID-19,

available at https://www.nysd.uscourts.gov/hon-paul-engelmayer. To access the conference, the

parties should call 888-363-4749 and use access code 468-4906.


        SO ORDERED.


Dated: October 20, 2020
       New York, New York
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                                                                     __________________________________
                                                                           PAUL A. ENGELMAYER
                                                                           United States District Judge
